Case 1:15-cv-01255-GJQ-RSK ECF No. 167, PageID.1833 Filed 12/21/21 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN

 VANDENBERG & SONS FURNITURE,                      )
 INC. a Michigan corporation, individually and     )
 as the representative of a class of similarly-    )
 situated persons,                                 )
                                                   )
                              Plaintiff,           )
                                                   )   Civil Action No: 1:15-cv-01255
               v.                                  )
                                                   )   Hon. Gordon J. Quist
 ALLIANCE FUNDING GROUP,                           )
                                                   )   Magistrate Judge Ray Kent
                              Defendant.           )


                     ORDER PRELIMINARILY APPROVING
              SETTLEMENT OF THE PREVIOUSLY CERTIFIED CLASSES

        This matter coming before the Court on the “Agreed Motion for Preliminary Approval of

 Class Action Settlement and Notice to the Class” (the “Motion”), after review and consideration

 of the Parties’ Settlement Agreement and having been fully advised in the premises;

        IT IS HEREBY ORDERED AND ADJUDGED AS FOLLOWS:

        1.     On January 22, 2021, this Court certified the following class:

                                               Class A
        All persons or entities identified in the WestFax opt-out list for Defendant, who
        were successful sent the same or similar fax as Exhibit A to the Complaint from
        December 3, 2011 to December 3, 2015.


 (hereinafter referred to as the “Class”). Excluded from the Class are: (a) Defendant and its

 present and former officers, directors, shareholders, employees and their successors, assigns and

 legal representatives; (b) the Court and its officers, and (c) any persons or entities who timely

 and validly exclude themselves from the Class.
Case 1:15-cv-01255-GJQ-RSK ECF No. 167, PageID.1834 Filed 12/21/21 Page 2 of 3




        2.        The Court previously appointed Plaintiff, Vandenberg & Sons Furniture, Inc.

 (“Plaintiff”), as the “Class Representative” and appointed Brian J. Wanca, Ross M. Good, Ryan

 M. Kelly and Wallace C. Solberg of Anderson + Wanca as “Class Counsel.”

        3.        Pursuant to Federal Rules of Civil Procedure 23, the settlement of this action, as

 embodied in the terms of the Settlement Agreement, is preliminarily approved.

        4.        The Settlement Agreement is incorporated by reference into this Order (with

 capitalized terms as set forth in the Settlement Agreement) and is hereby preliminarily adopted

 as an Order of this Court.

        5.        The Settlement Agreement proposes that a specific form of notice be sent to the

 Class by facsimile and if unsuccessful after three (3) attempts, by mail, and by maintaining a

 settlement website. The Court finds that such Notice satisfies the requirements of due process

 and Federal Rules of Civil Procedure 23. The plan for Notice is approved and adopted. The

 Court orders that Class Counsel provide the Notice to the Class as proposed in the Settlement

 Agreement.    The Court approves the form of the Notice as contained in Exhibit 2 to the

 Settlement Agreement.         The Court also approves Class-Settlement.com as the Class

 Administrator.

        6.        The Court hereby sets deadlines and dates for the acts and events set forth in the

 Settlement Agreement and directs the Parties to incorporate the deadlines and dates into the

 Notice to the Class:

                  (a)    Class Counsel shall ensure The Notice shall be sent or attempted to be sent

        via facsimile on or before January 4, 2022, and with respect to those Class members that

        notice was not successfully sent by facsimile after three attempts, by U.S. Mail assuming

        a street address may be reasonably found;



                                                  2
Case 1:15-cv-01255-GJQ-RSK ECF No. 167, PageID.1835 Filed 12/21/21 Page 3 of 3




                  (b)    Requests by any Class member to opt out of the settlement must be

        submitted to the Class Administrator on or before February 16, 2022, or be forever

        barred;

        7.        Objections, including supporting memoranda, shall be filed in this Court and

 postmarked and served on Class Counsel and Defendant’s counsel, on or before April 6, 2022,

 or be forever barred; and

        8.        The final approval hearing, set forth in the Class Notice, is hereby scheduled for

 April 27, 2022, at 2:00 p.m. in 499 Federal Bldg, 110 Michigan St NW Grand Rapids, MI

 49503. The final approval hearing may be continued to another later date without further notice

 to the Class.

        9.        All memoranda, affidavits, declarations, and other evidence in support of the

 request for final approval of the Settlement Agreement and Class Counsel’s request for approval

 of attorneys’ fees and costs and the Named Plaintiff’s awards shall be filed on or before April

 13, 2022.



 SO ORDERED this 21st day of December, 2021.



                                                             /s/ Gordon J. Quist
                                                            GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE




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